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                                                                                 United States Courts
                                                                               Southern District of Texas
                            UNITED STATES DISTRICT COURT                                FILED
                             SOUTHERN DISTRICT OF TEXAS
                                                                                  February 22, 2024
                                 HOUSTON DIVISION
                                                                            Nathan Ochsner, Clerk of Court
UNITED STATES OF AMERICA                          §
                                                  §
        v.                                        §   CRIMINAL NO. 4:24-CR-57
                                                  §
TYLER LOUDON,                                     §
         Defendant.                               §

                                      PLEA AGREEMENT

        The United States of America, by and through Alamdar S. Hamdani, United States

Attorney for the Southern District of Texas, and Karen M. Lansden, Assistant United States

Attorney, and the defendant, Tyler Loudon ("Defendant"), and Defendant's counsel, pursuant to

Rule 1 l(c)(l)(A) and 1 l(c)(l)(B) of the Federal Rules of Criminal Procedure, state that they have

entered into an agreement, the terms and conditions of which are as follows:

                                     Defendant's Agreement

        1. Defendant agrees to plead guilty to Count One of the information. Count One charges

Defendant with Securities Fraud, in violation of Title 15, United States Code, Sections 77q(a) and

77x. Defendant, by entering this plea, agrees that he is waiving any right to have the facts that the

law makes essential to the punishment either charged in the information, or proved to a jury or

proven beyond a reasonable doubt.

                                        Punishment Range

       2. The statutory maximum penalty for each violation of Title 15, United States Code,

Section 77q(a) and 77x, is imprisonment of not more than five (5) years and a fine of not more

than $ I 0,000.   Additionally, Defendant may receive a term of supervised release after

imprisonment of not more than three (3) years.        See Title 18, United States Code, Sections

3559(a)(l) and 3583(b)(l). Defendant acknowledges and understands that ifhe should violate the
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conditions of any period of supervised release which may be imposed as part of his sentence, then

Defendant may be imprisoned for not more than two (2) years, without credit for time already

served on the term of supervised release prior to such violation. See Title 18, United States Code,

Sections 3559(a)(l) and 3583(e)(3).

                                  Mandatory Special Assessment

        3. Pursuant to Title 18, United States Code, Section 3013(a)(2)(A), immediately after

sentencing, Defendant will pay to the Clerk of the United States District Court a special assessment

in the amount of one hundred dollars ($100.00) per count of conviction. The payment will be by

cashier's check or money order, payable to the Clerk of the United States District Court, c/o

District Clerk's Office, P.O. Box 61010, Houston, Texas 77208, Attention: Finance.

               Waiver of Appeal, Collateral Review, and Statute of Limitations

        4. Defendant is aware that Title 28, United States Code, Section 1291, and Title 18,

United States Code, Section 3742, afford a defendant the right to appeal the conviction and

sentence imposed. Defendant is also aware that Title 28, United States Code, Section 2255, affords

the right to contest or "collaterally attack" a conviction or sentence after the judgment of conviction

and sentence has become final. Defendant knowingly and voluntarily waives the right to appeal or

"collaterally attack" the conviction and sentence, except that Defendant does not waive the right

to raise a claim of ineffective assistance of counsel on direct appeal, if otherwise permitted, or on

collateral review in a motion under Title 28, United States Code, Section 2255. In the event

Defendant files a notice of appeal following the imposition of the sentence or later collaterally

attacks his conviction or sentence, the United States will assert its rights under this agreement and

seek specific performance of these waivers.


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        5. Defendant also agrees that should the conviction following the defendant's plea of

guilty pursuant to this Agreement be vacated for any reason, then any prosecution that is not time-

barred by the applicable statute of limitations on the date of the signing of this agreement

(including any counts that the United States has agreed to dismiss at sentencing pursuant to this

Agreement) may be commenced or reinstated against the defendant, notwithstanding the

expiration of the statute of limitations between the signing of this Agreement and the

commencement or reinstatement of such prosecution. It is the intent of this Agreement to waive

all defenses based on the statute of limitations with respect to any prosecution that is not time-

barred on the date that this Agreement is signed.

       6. In agreeing to these waivers, Defendant is aware that a sentence has not yet been

determined by the Court. Defendant is also aware that any estimate of the possible sentencing

range under the sentencing guidelines that he may have received from his/her counsel, the United

States or the Probation Office, is a prediction and not a promise, did not induce his/her guilty plea,

and is not binding on the United States, the Probation Office or the Court. The United States does

not make any promise or representation concerning what sentence the defendant will receive.

Defendant further understands and agrees that the United States Sentencing Guidelines are

"effectively advisory" to the Court.       See United States v. Booker, 543 U.S. 220 (2005).

Accordingly, Defendant understands that, although the Court must consult the Sentencing

Guidelines and must take them into account when sentencing Defendant, the Court is not bound

to follow the Sentencing Guidelines nor sentence Defendant within the calculated guideline range.

       7. Defendant understands and agrees that each and all waivers contained in the Agreement

are made in exchange for the concessions made by the United States in this plea agreement.


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                                 The United States' Agreements

        8. The United States agrees to each of the following:

       (a)     If Defendant pleads guilty to Count One of the information and persists in
       that plea through sentencing, and if the Court accepts this plea agreement, the
       United States will not bring any additional charges against the defendant based
       upon the conduct underlying and related to the Defendant's plea of guilty. This
       agreement is limited to the United States Attorney's Office for the Southern District
       of Texas and does not bind any other federal, state, or local prosecuting authorities,
       nor does it prohibit any civil or administrative proceeding against the defendant or
       any property.

       (b)     If the Court determines that Defendant qualifies for an adjustment under
       U.S.S.G. § 3El.l(a), and the offense level prior to operation of§ 3El.l(a) is 16 or
       greater, the United States will move under§ 3El.l(b) for an additional one-level
       reduction because Defendant timely notified authorities of his or her intent to plead
       guilty, thereby permitting the United States to avoid preparing for trial and
       permitting the United States and the Court to allocate their resources more
       efficiently.

                     Agreement Binding - Southern District of Texas Only

       9. The United States Attorney's Office for the Southern District of Texas agrees that it

will not further criminally prosecute Defendant in the Southern District of Texas for the specific

conduct described in the information. This plea agreement binds only the United States Attorney's

Office for the Southern District of Texas and Defendant. It does not bind any other United States

Attorney's Office. The United States Attorney's Office for the Southern District of Texas will

bring this plea agreement and the full extent of Defendant's cooperation to the attention of other

prosecuting offices, if requested.

                              United States' Non-Waiver of Appeal

        10. The United States reserves the right to carry out its responsibilities under guidelines

sentencing. Specifically, the United States reserves the right:



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        (a)     to bring the facts of this case, including evidence in the files of the United
        States Attorney's Office for the Southern District of Texas or the files of any
        investigative agency, to the attention of the Probation Office in connection with
        that office's preparation of a presentence report;

        (b)    to set forth or dispute sentencing factors or facts material to sentencing;

        (c)    to seek resolution of such factors or facts in conference with Defendant's
        counsel and the Probation Office;

       (d)    to file a pleading relating to these issues, in accordance with section 6Al.2
       of the United States Sentencing Guidelines and Title 18, United States Code,
       Section 3553(a); and

       (e)     to appeal the sentence imposed or the manner in which it was determined.

                                     Sentence Determination

        11. Defendant is aware that the sentence will be imposed after consideration of the United

States Sentencing Guidelines and Policy Statements, which are only advisory, as well as the

provisions of Title 18, United States Code, Section 3553(a). Defendant nonetheless acknowledges

and agrees that the Court has authority to impose any sentence up to and including the statutory

maximum set for the offense(s) to which Defendant pleads guilty, and that the sentence to be

imposed is within the sole discretion of the sentencing judge after the Court has consulted the

applicable Sentencing Guidelines. Defendant understands and agrees that the parties' positions

regarding the application of the Sentencing Guidelines do not bind the Court and that the sentence

imposed is within the discretion of the sentencing judge. If the Court should impose any sentence

up to the maximum established by statute, or should the Court order any or all of the sentences

imposed to run consecutively, Defendant cannot, for that reason alone, withdraw a guilty plea, and

will remain bound to fulfill all of the obligations under this plea agreement.




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                                             Rights at Trial

        12. Defendant understands that by entering into this agreement, he surrenders certain

rights as provided in this plea agreement. Defendant understands that the rights of a defendant

include the following:

       (a)    If Defendant persisted in a plea of not guilty to the charges, defendant would
       have the right to a speedy jury trial with the assistance of counsel. The trial may
       be conducted by a judge sitting without a jury if Defendant, the United States, and
       the court all agree.

       (b)     At a trial, the United States would be required to present witnesses and other
       evidence against Defendant. Defendant would have the opportunity to confront
       those witnesses and his/her attorney would be allowed to cross-examine them. In
       tum, Defendant could, but would not be required to, present witnesses and other
       evidence on his/her own behalf. If the witnesses for Defendant would not appear
       voluntarily, he could require their attendance through the subpoena power of the
       court; and

       (c)     At a trial, Defendant could rely on a privilege against self-incrimination and
       decline to testify, and no inference of guilt could be drawn from such refusal to
       testify. However, if Defendant desired to do so, he could testify on his/her own
       behalf.

                                  Factual Basis for Guilty Plea

       13. Defendant is pleading guilty because he is in fact guilty of the charges contained in

Count One of the information. If this case were to proceed to trial, the United States could prove

each element of the offense beyond a reasonable doubt. The following facts, among others would

be offered to establish Defendant's guilt:

       Defendant TYLER LOUDON was a resident of Houston, Texas. LOUDON was married

to Individual A, who was employed by Company A as an associate manager in mergers and

acquisitions. Company A was an oil and gas company headquartered overseas, with offices in

Houston, Texas. Company A's stock traded on the NYSE stock exchange. Company B was a full-


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service travel center operator company headquartered in the State of Ohio. Company B's stock

traded on the NASDAQ stock exchange.

        As part of her job duties at Company A, Individual A learned that Company A was planning

to acquire Company B. Company A had a written policy expressly forbidding employees from

misusing or disclosing confidential information and from trading stock on the basis of material,

nonpublic information learned as part of their job. Company A also advised employees who

learned about the acquisition of Company B that this information was confidential and that they

were not allowed to trade stock of Company A or Company B during the time period leading up

to the acquisition.

        As a result of this policy and request, Individual A owed Company A a duty of trust and

confidence to maintain the confidentiality of material nonpublic information she learned as part of

her job, and was prohibited from trading Company B stock based on that information. LOUDON

owed duties of confidence and trust to Individual A as her spouse. LOUDON knew that Individual

A expected that LOUDON would maintain the confidentiality of any material nonpublic

information LOUDON obtained from Individual A, and understood that he could not use or share

any confidential information he obtained or learned from Individual A that had been entrusted to

Individual A through her employment with Company A.

        It was part of the scheme that LOUDON misappropriated for his own benefit certain

material nonpublic information that he obtained from Individual A about Company A's acquisition

of Company B as a result of her employment at Company A, in breach of the duties of trust and

confidence LOUDON owed to Individual A.

        It was further part of the scheme that throughout the months of December 2022 and January


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and February 2023, LOUDON, secretly conducted securities transactions that he designed to be

profitable if the price of Company B stock increased. Specifically, LOUDON purchased 46,450

shares of Company B stock from December 27, 2022 through February 6, 2023. During this time

Individual A was actively involved in Company A's negotiations to purchase Company B.

Individual A worked remotely at times in close proximity to LOUDON and also discussed her

work life with LOUDON in the normal course of their marriage. Individual A was unaware

LOUDON purchased shares of Company B.

       On February 16, 2023, after the public announcement of the acquisition of Company B by

Company A, the value of Company B's stock increased. LOUDON sold the Company B stock that

he had purchased in December 2022 through February 2023, and made a profit of approximately

$1,763,522.

       LOUDON misrepresented, concealed, and hid his actions from Individual A. It wasn't until

April 2023 that LOUDON admitted to Individual A that he had used non-public material

information to purchase and sell shares of Company B. Once made aware of LOUDON's actions,

Individual A reported his activity to her employer, Company A.

       Defendant stipulates and admits that the information set forth in this factual basis is legally

sufficient as it pertains to him to support his plea of guilty to Count One of the information.


                                    Breach of Plea Agreement

        14. If Defendant should fail in any way to fulfill completely all of the obligations under

this plea agreement, the United States will be released from its obligations under the plea

agreement, and Defendant's plea and sentence will stand. If at any time Defendant retains,

conceals, or disposes of assets in violation of this plea agreement, including required financial

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information, or if Defendant knowingly withholds evidence or is otherwise not completely truthful

with the United States, then the United States may move the Court to set aside the guilty plea and

reinstate prosecution. Any information and documents that have been disclosed by Defendant,

whether prior to or subsequent to this plea agreement, and all leads derived therefrom, will be used

against defendant in any prosecution.

                       Monetary Penalties, Assets and Financial Disclosures

        15.      Defendant understands and agrees that monetary penalties will be subject to

immediate enforcement as provided in 18 U.S.C. § 3613 and that monetary penalties will be

submitted to the Treasury Offset Program so that payments to the Defendant may be applied to

federal debts.

        16. Defendant understands that restitution, forfeiture, and fines are separate components

of sentencing and are separate obligations. Defendant agrees to take all steps necessary to pass

clear title to forfeitable assets to the United States and to assist fully in the collection ofrestitution

and fines. Subject to the provisions of paragraph 7 above, Defendant waives the right to challenge

in any manner, including by direct appeal or in a collateral proceeding, any restitution order, any

forfeiture orders, and any fines.

                                               Forfeiture

        17. As part of this plea agreement, Defendant agrees to the following:

        (a) to forfeit, via either an administrative or judicial proceeding, all assets listed in the
        charging document (including any Supplemental Notice of Forfeiture), and to forfeit or
        abandon any assets seized during this investigation or a related investigation [including but
        not limited to the following specific assets:];

        (b) to withdraw any claims and petitions for such listed or seized assets, whether in this
        proceeding or another proceeding, and to waive notice of administrative proceedings
        (including forfeiture, destruction, and abandonment for seized property);

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        (c) that Defendant obtained at least $1,763,522 from the criminal offenses, that the factual
        basis for the guilty plea supports the imposition of a money judgment in that amount, and
        that the Defendant agrees to the imposition of a money judgment in that amount [or, if not
        agreed, that the Court will determine the proper amount of a money judgment];

        (d) that one or more of the conditions set forth in 21 U.S.C. § 853(p) exists, so that the
        forfeiture money judgment may be immediately satisfied via forfeiture of substitute
        property; and

        (e) to the order of forfeiture becoming final as to Defendant immediately following this
        guilty plea or immediately following entry of the forfeiture order, whichever applies.

                                        Financial Statement

        18. Defendant agrees to truthfully complete under penalty of perjury, within thirty days

of the execution of this Plea Agreement, a financial statement on a form provided by the United

States Attorney's Office and to update the statement within seven days of any material change.

Defendant also agrees to make full disclosure to the United States Probation Office of all current

and anticipated assets in which Defendant has an interest both before sentencing and again before

termination of supervised release or probation, with such disclosures to be shared with the United

States Attorney's Office.

        19. Defendant further agrees not to dispose or transfer any assets without the prior written

permission of the United States and to authorize the release of all financial information requested

by the United States, including, but not limited to, credit histories and tax returns. Defendant agrees

to discuss and answer any questions by the United States relating to Defendant's financial

disclosure, including in a deposition or informal debtor exam, whether before or after sentencing.




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                                       Complete Agreement

        20. This written plea agreement, consisting of 13 pages, including the attached addendum

of Defendant and his/her attorney, constitutes the complete plea agreement between the United

States, Defendant, and Defendant's counsel. Other than any written proffer agreement(s) that may

have been entered into between the United States and Defendant, this agreement supersedes any

prior understandings, promises, agreements, or conditions between the United States and

Defendant. No additional understandings, promises, agreements, or conditions have been entered

into other than those set forth in this agreement, and none will be entered into unless in writing

and signed by all parties. Defendant acknowledges that no threats have been made against him/her

and that he is pleading guilty freely and voluntarily because he is guilty.

       21. Any modification of this plea agreement must be in writing and signed by all parties.

       Filed at    B-oc.> 4, \_.vv    , Texas, on      R-:¼A, ~~ ~..__ ,2QJ~

                                                      D~=

       Subscribed and sworn to before    me on Fi.bau. ~ d a._
                                                                  &
                                              NATHAN KYLE OCHSNER
                                              UNITED STATES DISTRICT CLERK


                                       By:~
                                                eputyUnitedstatesriktrict Clerk
APPROVED:
     Alamdar S. Hamdani
     United States Attorney



By:    :zst~~y
       Southern District of Texas

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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

UNITED STATES OF AMERICA                         §
                                                 §
       v.                                        §   CRIMINAL NO.
                                                 §
TYLER LOUDON,                                    §
         Defendant.                              §

                            PLEA AGREEMENT -- ADDENDUM

       I have fully explained to Defendant his/her rights with respect to the pending

indictment/information. I have reviewed the provisions of the United States Sentencing

Commission's Guidelines Manual and Policy Statements and I have fully and carefully explained

to Defendant the provisions of those Guidelines which may apply in this case. I have also explained

to Defendant that the Sentencing Guidelines are only advisory and the court may sentence

Defendant up to the maximum allowed by statute per count of conviction. I have also explained to

Defendant that sentences on multiple counts may be imposed to run consecutively to one another

or to any other sentence. Further, I have carefully reviewed every part of this plea agreement with

Defendant. To my knowledge, Defendant's decision to enter into this agreement is an informed




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       I have consulted with my attorney and fully understand all my rights with respect to the

indictment/information pending against me. My attorney has fully explained, and I understand, all

my rights with respect to the provisions of the United States Sentencing Commission's Guidelines

Manual which may apply in my case. I have read and carefully reviewed every part of this plea

agreement with my attorney. I understand this agreement and I voluntarily agree to its terms.



                                                    Date   ~    I




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